Case 6:05-cr-00025-LED-JDL          Document 46        Filed 10/28/05      Page 1 of 1 PageID #:
                                           148


                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


UNITED STATES OF AMERICA                      §
                                              §
                                              §      CRIMINAL ACTION NO. 6:05cr25
v.                                            §
                                              §
JUSTIN MANDRELL JOHNSON                       §


                                             ORDER

       The above entitled and numbered criminal action was referred to United States Magistrate

Judge Harry W. McKee pursuant to 28 U.S.C. § 636(b)(3). The Report of the Magistrate Judge

which contains his proposed findings of fact and recommendations for the disposition of such action,

has been presented for consideration. The parties have made no objections to the Report and

Recommendation.

       The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as the

findings and conclusions of this Court.

       So ORDERED and SIGNED this 28th day of October, 2005.




                              __________________________________
                              LEONARD DAVIS
                              UNITED STATES DISTRICT JUDGE
